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                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF LOUISIANA

   In re:                                         )
                                                  )    Case No. 20-10846
   THE ROMAN CATHOLIC CHURCH OF                   )
   THE ARCHDIOCESE OF NEW ORLEANS                 )    Section “A”
                                                  )
                  Debtor.                         )    Chapter 11


        REPLY OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS TO
         DEBTOR’S OPPOSITION TO THE COMMITTEE’S MOTION TO COMPEL
        DEBTOR’S (1) PRODUCTION OF DOCUMENTS, AND (2) PRIVILEGE LOG,
            TO THE EXTENT NECESSARY, RELATED TO RULE 2004 ORDER
                         [Relates to Docket # 804 and # 814]

            The undersigned counsel, on behalf of the Official Committee of Unsecured

   Creditors (the “Committee”),1 files this reply (the “Reply”) to the Opposition (the

   “Opposition”) [Docket #814] filed by the Roman Catholic Church of the Archdiocese of

   New Orleans (the “Debtor”) to the Committee’s Motion to Compel Debtor’s (1) Production of

   Documents, and (2) Privilege Log, to the Extent Necessary, Related to Rule 2004 Order (the

   “Motion to Compel”). [Docket #804]

                                        INTRODUCTION

            1.    The primary purpose of the Committee’s Rule 2004 discovery is to facilitate its

   preparation for a mediated negotiation towards a consensual plan of reorganization, including

   treatment for abuse claims that the Committee would be expected to recommend to its

   constituency. Essential to the Committee’s preparation is complete and accurate information as



   1
    Pursuant to the Court’s Order dated February 8, 2021 [Docket #746], the designation of the
   Committee may be changed; however as of the date of this Motion, the designation has not yet
   been changed.




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   to the financial and insurance resources of the Debtor and its affiliates, as well as the nature,

   validity and extent of the abuse claims and any defenses thereto.

           2.     Rather than viewing the Committee’s discovery requests in this light, the Debtor

   has chosen to engage in highly adversarial litigation tactics. The Debtor objects to the vast

   majority of the document requests based on legal positions unwarranted in a Rule 2004 context,

   drastically overstates the extent of its “cooperation,” and refuses to produce the documents most

   critical for the Committee’s preparation for mediation.

           3.     As for the Debtor’s production to date:

                 The Debtor has not produced any documents regarding its personal property or
                  the value thereof, including without limitation the nearly 200 listed items of
                  artwork, artifacts and other items;

                 The Debtor has produced only limited and conflicting information regarding the
                  value of its real property holdings (without support for asserted valuations);

                 The Debtor has produced piecemeal, disconnected and woefully incomplete
                  excerpts of its financial databases; and

                 The Debtor has not produced any documents regarding abuse claims or its
                  potential defenses thereto, despite have ready electronic access to the personnel
                  files of 74 priests and other church representatives whom the Debtor has
                  investigated and publicly confirmed to have committed acts of sexual abuse.

           4.     While crowing that it has produced 76,000 pages of documents, the Debtor admits

   that it has not produced documents responsive to a majority of the Requests, and has refused to

   produce documents with respect to those specific Requests that are most important to the

   Committee’s preparation for a mediated negotiation. The Debtor’s production amounts to a

   “dump” of pages that is easy to accumulate for an entity of the size and longevity of the Debtor.

   For example, instead of producing the requested electronic copies of the financial databases



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   (discussed below), the Debtor amassed pages by producing individual invoices from the Debtor

   to parishes for overhead costs, unconnected to any summaries thereof, produced in an Excel

   format so that the Debtor can claim to have produced in “native format” to address the

   Committee’s request.

           5.     A negotiated plan of reorganization will be possible only if the Committee obtains

   the documents that it has requested. If the Debtor is permitted to continue to hide the extent of

   its assets and the availability of insurance, and to withhold abuse claim related documents to

   essentially anoint itself as investigator, judge and jury on the validity of the abuse claims, then

   the bankruptcy case should be dismissed. No plan will be confirmed over the dissent of abuse

   claimants, and the parties will be required to engage in litigation as to prescription and other

   defenses in 450 claim objection or other adversarial proceedings that will require extensive

   written discovery and depositions. That scenario will eviscerate the purpose for which the

   Debtor publicly claimed to have filed this case, to address “the growing financial strain caused

   by litigation stemming from decades-old incidents of clergy abuse.”2


                                            ARGUMENT

           A.     The Archdiocese Waived All Objections to the Rule 2004 Requests When
                  It Violated the Rule 2004 Order By Failing to Provide Objections and
                  Responses By February 26, 2021

           6.     The Court’s Rule 2004 Order required the Archdiocese to provide written



   2
     See May 1, 2020 statement by the Debtor, “Archdiocese Administrative Offices File for
   Chapter 11 Reorganization”; https://nolacatholic.org/news/archdiocese-administrative-offices-
   file-for-chapter-11-reorganization


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   Objections and Responses to the Rule 2004 Requests by February 26, 2021.                     The

   Archdiocese did not provide its Objections and Responses until March 12, and its Objection

   offers no excuse therefor. This brazen violation of the Rule 2004 Order (to which the

   Debtor agreed in advance) is an affront to the Court and the bankruptcy process.

           7.      The Debtor’s fallback argument of a lack of prejudice is misplaced and false.

   The Committee crafted the Rule 2004 Requests to revise and reduce the number and scope

   of its requests to account for previously produced documents and other items. Following

   the Rule 2004 Order, the parties engaged in several attempts to meet and confer that may

   have (and should have) led to a more cooperative approach from the Debtor, which the

   Committee expected to see in the Responses.           The lateness of the Responses further

   hampered the Committee’s effort to prepare the Motion to Compel.

           B.      The Committee Has Requested a Complete Electronic Copy of the
                   Accounting System Because It is Necessary and Cost Effective.
                   (Request No. 49)

           8.      By its objections, the Debtor seeks to prevent the Committee from having a

   complete picture of the Debtor’s finances and assets, by arbitrarily limiting access to accounting

   information and presenting only limited, incomplete and unconnected pages unilaterally selected

   by the Debtor. Informed by the experience of Committee counsel and financial advisors in past

   diocese cases, the Committee needs access to the Debtor’s financial databases in order to have a

   complete picture of the Debtor’s finances and assets, and its complex relationships with more

   than 180 affiliates.

           9.      As discussed at length in the Motion and supporting Declarations, the




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   Committee’s request for a native copy of the Archdiocese’s accounting systems (“Accounting

   System Data”), will allow the Committee, in the most cost-effective and efficient manner, to

   analyze potential assets, review the flow of monies in and out of the Archdiocese, identify

   potential avoidance actions, and determine whether funds allegedly belonging to parishes and

   other entities were commingled with Archdiocesan funds in the Deposit & Loan Program,

   rendering those monies property of the estate.       This Request is among the most fundamental

   information that the Committee seeks to review in this Bankruptcy Case.

            10.   The financial documents produced to the Committee, most in pdf format and

   others in native, Excel format are a poor purported substitute for the Accounting System Data.

   They lack context, are incomplete, and not at all useful. Without a complete copy of the

   Financial Edge database, for example, it is not feasible for BRG to navigate the databases in

   excess of 1,500 tables and potentially up to 17 modules (i.e., general ledger, accounts receivable,

   accounts payable, purchasing, cash management, projects, grants, and endowments, fixed assets,

   etc.).

            11.   BRG has utilized an electronic copy of the debtor’s financial system in a number

   of other sex abuse-related bankruptcy cases.         Production of the copies is a simple and

   inexpensive IT task that does not create any risk of incursion or access to the systems

   themselves. The Debtor’s resistance to this request is inexplicable.




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           C.     The Debtor’s Arbitrary Three-Year Restriction on Other Financial
                  Documents Prevents the Committee from Reviewing Necessary
                  Information.
                  (Request Nos. 28-31 and 49 – Related to Avoidance Actions)
                  (Request Nos. 4, 20, 24, 43-45, 47, 50, 52-54, and 56-62)

           12.    In addition to the limitation on access to the Accounting System Data discussed

   above, the Debtor also seeks to impose an arbitrary limit on information limited to three years

   before the petition date on a wide range of other requests. (See Opposition at ¶¶ 34-44 and 49-

   53). This arbitrary three-year restriction is unwarranted, for three basic reasons.

           13.    First, contract actions have a ten-year prescriptive period. The Committee’s

   requests implicate a wide array of contractual issues with the more than 180 affiliates of the

   Debtor. It is a core function of a creditors committee to investigate and review potential actions

   of the estate to recover from third parties. Such actions include contractual actions. See, e.g., Hof

   v. Chandler (In re Levitron, L.L.C.), Adv. Case No. 10-1032, 2011 WL 4024805, *2 (Bankr.

   E.D.La. Sept. 9, 2011) (breach of contract action brought by trustee against debtor insiders,

   under its own prescriptive period). Here, the potential actions go far beyond preferential or

   fraudulent transfers. The estate has a complex set of financial relationships with more than 180

   affiliates that are important for the Committee to investigate.

           14.    For example, Claim No. 202 filed by the Debtor’s affiliate All Saints Roman

   Catholic Church attaches a Parish Service Agreement (also attached to the claims of many other




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   affiliates).3 The Parish Service Agreement includes, among other contractual responsibilities, the

   obligation of the church parish to comply with campaigns and second collections, fund the cost

   of seminary training and the care of retired priests, and pay service fees, additional costs, and

   provide indemnification to the Debtor (See id., at ¶¶2.5, 2.6, 4.1, 4.2, 6).

           15.     Second, as discussed in the Motion to Compel, many of the requests at issue also

   go beyond avoidance or contractual actions, and seek to examine the assets of the estate that are

   available to creditors. (See Motion to Compel at ¶30.) Request Nos. 4, 20, 24, 43-45, 47, 50, 52-

   54, and 56-62 address accounts receivable, meeting materials, pension plan documents, financial

   statements, annual reports, and financial reports, and agreements and statements involving the

   Archdiocese’s Deposit & Loan Program that holds more than $130 million in assets. The

   Debtor’s arbitrary three-year restriction will prevent the Committee from completing a complete

   analysis of these matters.

           16.     Third, as the Debtor acknowledges, a three-year limitation does not apply in cases

   of fraud.     In the context of a creditor committee investigation, a broad investigation is

   appropriate and there is no requirement that a basis or specific fraud allegation be established

   before the investigation. As numerous courts have recognized, one purpose of a Rule 2004

   investigation is to “unearth” frauds – it is not a requirement that the Committee already have

   such circumstances in hand as a predicate for the examination. E.g., In re Orion Healthcorp, Inc.

   596 B.R. 228, 235 (Bankr. E.D.N.Y. 2019). A creditor committee’s investigation and discovery


   3
    This Claim is available at the Claims Agent’s website at
   https://www.donlinrecano.com/Clients/rcano/FindClaimByNumber?ClaimFrom=202&ClaimTo
   =202


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   should not be conflated with rules relating to adverse discovery in fraud litigation. The Debtor

   became aware of abuse claims more than fifteen years prior to its bankruptcy filing. Only by

   investigating transactions in these years can the Committee learn whether the Debtor transferred

   any assets to affiliates or other entities as “asset planning” to attempt to avoid the reach of

   creditors.4

           D.     The Committee Must Have Access to Abuse-Related Documents in Order
                  to Value Claims and Meaningfully Prepare for Mediation
                  (Request Nos. 9, 10, 23, 65, 68-69, 71, 78-79, 85, 87, 93-96, 98, and 101)

           17.    The value and treatment of abuse claims will be a central issue in the mediation.

   The Debtor expects the Committee to make an opening offer based on the value of claims, and

   the Committee can only do so if it has complete information.

           18.    Certain of the Committee’s requests seek information directly bearing on

   valuation and the Debtor’s expected defenses.        As an initial matter, it should be noted that the

   Committee has offered to restrict these requests, at least initially, to perpetrators acknowledged

   by the Debtor and the abuse claims (and implicated clergy) that have been filed as of the claims

   bar date. (The Debtor declined this offer and has refused to produce any abuse-related documents

   whatsoever.)

           19.    The Debtor has refused to produce any abuse-related documents, essentially for



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     Also, as stated in the Motion to Compel (¶¶34-35), it should be reiterated that any three-year
   (or other) time restriction on the electronic accounting records (Request No. 49) is entirely
   unwarranted. Any attempt to extract a three-year prepetition subset of data from the
   Archdiocese’s electronic accounting systems will limit the content available even for that time
   period, as it may not provide beginning balances, all of the required fields to link the datasets and
   include all of the tables in that three-year window. (See Motion to Compel, ¶¶34-35.)


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   three reasons. First, the Debtor asserts that the Committee “must identify the legal basis” for

   claims against the Debtor as a threshold matter, and seeks to question whether the Debtor (as

   opposed to the accused clergy and other parties) is implicated at all in abuse claims under

   respondeat superior or another basis. (Opposition, ¶¶56-58.) However, the legal basis for the

   Debtor’s liability is well known and set forth in the pending lawsuits, claims, and elsewhere. In

   the pending litigation, the state courts repeatedly rejected a “no cause of action” argument as to

   various theories of liability against the Debtor including respondeat superior, vicarious liability,

   and other bases.

           20.    For example, in one of the lawsuits that is currently an Adversary Proceeding

   before this Court (Adv. Proc. Case No. 20-01065, A.A. Doe v. Archdiocese of New Orleans

   Indemnity, Inc.), the record [Docket # 2-7] includes an October 19, 2019 opinion by the Orleans

   Parish Civil District Court denying the exception of no cause of action filed by the Debtor. For

   convenience, a copy of this order is attached as Exhibit “1” hereto. In that written opinion (See

   pp. 34-35 of 99 in Exhibit “1”), Judge Ervin-Knott stated: “Louisiana law recognizes

   Plaintiff’s right to pursue claims under the causes of action that were specifically pled in

   the Petition, specifically, vicarious liability, public nuisance, fraudulent concealment,

   negligent infliction of emotional distress, and invasion of privacy.”)

           21.    Second, the Debtor states that it will take the position that many claims are

   prescribed. (Opposition, ¶¶59-62.) This position reveals why the Committee needs the requested

   documents to prepare for a meaningful mediation.

           22.    Louisiana prescription is fact-intensive, and Louisiana courts have recently stated




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   that defendants in abuse cases must produce a broad range of information to consider the issue of

   prescription.   This document production must take place well in advance of the trial on

   prescription. Very recently, on March 24, 2021, the Louisiana Third Circuit Court of Appeal

   held that the plaintiff “is entitled to conduct discovery as to those matters which pertain to a

   hearing on the exception of prescription,” and the appeals court further ordered the trial court “to

   refrain from setting a hearing on [the] Exception of Prescription until all discovery on this issue

   has been properly answered and/or discovery issues are resolved by the trial court at a hearing set

   for that purpose.” See opinion attached as Exhibit “2” hereto (TM Doe v. Diocese of Lafayette,

   Case No. CW 21-00147 (La. App. 3 Cir. March 24, 2001)).

           23.     The court went on to specifically require timely responses to a wide range of

   discovery requests. A copy of the applicable discovery requests is attached as Exhibit “3”

   hereto. The appeals court required production of the following documents (among others)_as

   applicable to prescription:

                  The personnel file for the accused clergy and related documents (See Exhibit “2”
                   at second paragraph and Exhibit “3” at Requests for Production Nos. 8-10, 22,
                   and 24);

                  The restricted and confidential files concerning the accused clergy, and all other
                   documents concerning that clergy (See Exhibit “2” at second paragraph and
                   Exhibit “3” at Requests for Production Nos. 12, 20, and 21);

                  Documents concerning claims against the accused clergy (See Exhibit “2” at
                   second paragraph and Exhibit “3” at Requests for Production Nos. 25, 27, and
                   70); and

                  Settlements and payments made on account of abuse (See Exhibit “2” at second
                   paragraph and Exhibit “3” at Requests for Production No. 29)

           24.     As the Debtor intends to make prescription an issue, the Committee must be able


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   to analyze the merits of the defense in order to value claims and formulate an opening settlement

   demand. The Committee will need these same materials (all of which have been included in the

   requests at issue) to consider the issue of prescription.

           25.    Third, as a final reason to resist producing abuse-related documents, the Debtor

   cites the “pending proceeding” rule. For the reasons stated in the Motion to Compel, it is not

   applicable. Even if it were applicable, it applies only to the approximately 34 lawsuits pending

   as of the Petition Date.

           26.    The Debtor cites the very different circumstances of the USA Gymnastics case, in

   which virtually all of the survivor claimants were plaintiffs in two large pre-petition consolidated

   litigation actions. (In contrast, here only 34 out of 450 claimants had a pre-petition lawsuit

   pending.) Despite any “pending proceeding” rule, the court allowed Rule 2004 discovery of a

   number of abuse and insurance-related documents, but limited the scope. (Opposition, ¶¶73-74.)

           27.     A copy of the referenced USA Gymnastics order is attached as Exhibit “4”

   hereto. In USA Gymnastics, the court was focused on what was necessary for the upcoming

   mediation concerning circumstances very different from the case here. The mediation was to

   focus “on the extent of the insurance coverage,” with the debtor having “fairly limited resources

   otherwise.” (See Exhibit “4” at p. 3) Therefore, the court focused on discovery that “should be

   sufficient to ascertain the likely insurance funds that should be available to pay claims and to

   address certain very limited coverage questions that might arise.” (Id.) The court’s order did

   allow discovery of certain abuse-related documents, but imposed limitations (not applicable

   here) for “investigative matters” and “staffing, training, supervision, and oversight documents.”




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           E.     The Insurance-Related Requests are Critical to the Committee’s
                  Investigation and Preparation.
                  (Request Nos. 9-10)

           28.    The Debtor objects to Requests Nos. 9 and 10, seeking insurance-related

   information, on relevance grounds. However, this information is necessary for the Committee to

   understand and address potential coverage positions of the insurers:

                 Request No. 9 applies to current and pending insurance claims (not historical
                  claims), which are clearly needed to understand and prepare for insurance
                  coverage positions.

                 Request No. 10 applies to recent denial of coverage and reservation of rights
                  letters (within the last four years), which the. Committee submits is modest and is
                  necessary to analyze availability of insurance and coverage positions.

           F.     The Debtor’s Unwillingness to Provide Adequate Information Highlights
                  the Concerns Previously Stated by the Committee in the Motion to
                  Dismiss.

           29.    The Committee filed a motion to dismiss this Chapter 11 case in light of the

   apparent fact that the Debtor commenced this case not because of financial distress and a need

   for reorganization, but in order to address and resolve abuse claims in a manner favorable to it.

           30.    While the motion to dismiss remains pending, the Committee has proceeded in

   good faith to explore case resolution with the Debtor, including a contemplated mediation. For a

   mediation to be productive, the Debtor must provide the information and documents necessary

   for the Committee to meaningfully participate and be in a position to recommend a settlement to

   its constituency. Given its fiduciary duty to act with due care and complete information, absent

   receipt of the requested information, the Committee will be unable to counsel its constituency

   with respect to any proposed case resolution.



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           31.    The Debtor states in its Opposition that, if the mediation fails, the Debtor

   apparently intends to file 450 claim objections and “object to all or most of the abuse proofs of

   claim.” (Opposition, ¶5.) That alternative highlights the futility of a bankruptcy proceeding

   intended to facilitate a prompt and fair resolution for creditors. Either the Debtor should be

   required to produce the necessary information—giving the mediation a chance of success—or

   the case should simply be dismissed in favor of state court abuse claim litigation.



   Dated: April 13, 2021                                Respectfully submitted,

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                                                        Creditors




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                                   CERTIFICATE OF SERVICE

           I hereby caused a copy of the foregoing Reply to be served on April 13, 2021 upon all
   parties by electronic case filing for those parties receiving notice via the Court’s Electronic Case
   Filing system, and on all other parties requiring service under the Court’s Ex Parte Order
   Authorizing the Debtor to Limit Notice and Establishing Notice Procedures through the Master
   Service List via first-class United States mail, postage prepaid, to be sent on April 14, 2021.

                                                 /s/ C. Davin Boldissar
                                                 C. Davin Boldissar




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